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            JAMES KRUEGER, ESQ.     492                          UNITED STATES DISTRICT COURT
            2055 Main Street, Suite 102                               DISTRICT OF HAWAII
            Wailuku, Maui, Hawaii 96793
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            Attorney for Plaintiffs
            #17-07 JK:tds



                                  UNITED STATES DISTRICT COURT


                                       DISTRICT OF HAWAII


            ANTHONY FERRETTI, ELAINE               COMPLAINT FOR A CIVIL CASE
            FERRETTI,
                           Plaintiffs,
                                                   CASE
                                                            'CV18
                                                          NOI




                            V.




            BEACH CLUB MAUI, INC., JOHN
            DOES 1-5,JOHN DOE CORPORATIONS
            1-5, JOHN DOE PARTNERSHIPS
            1-5, ROE NON-PROFIT
            CORPORATIONS 1-5, AND ROE
            GOVERNMENTAL AGENCIES 1-5,

                                 Defendants.




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                                    COMPLAINT


                  1.    At all times relevant herein, plaintiffs

      were citizens of the State of Ohio and were husband and

      wife.

                  2.    At all times relevant herein, defendant

      BEACH CLUB MAUI INC., hereinafter CLUB, was a corporation

      or other legal entity duly incorporated by the law of the
      State of Hawaii, authorized to do, and doing business in,
      the County of Maui, State of Hawaii and having its
      principal place of business therein.
                  3.     This Court has jurisdiction over the subject
      matter of this proceeding and the parties named herein.
                  4.     The events described herein occurred within

      the County of Maui, State of Hawaii so that venue in this
      Court is proper.

                  5.     Plaintiffs have diligently and in good faith
      attempted to ascertain names, identities, and possible

      defendants whose identities are presently unknown to

      plaintiffs.      Such attempts include obtaining the applicable
      police report and contacting presently known witnesses to

      the occurrence.      Despite the foregoing, the identities of

      other defendants, not citizens of the State of Ohio or a

      corporation governed and/or existing under the laws of
      Ohio, or having their principal place of business therein,

      whose conduct may have been a legal cause of plaintiffs'

      injuries and damages, remain unknown to plaintiffs.

                  6.    Plaintiffs allege, on information and

      belief, that, directly or indirectly, the conduct of other



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      defendants, presently unknown to plaintiffs, was or may

      have been a legal cause of the occurrence complained of

      and/or the injury, damage, or loss thereby sustained by

      plaintiffs, as a result of which all defendants,

      unidentified and/or identified, may be legally, jointly and

      severally, liable to plaintiffs for their injuries and

      losses sustained, inasmuch as the conduct of each defendant

      may have coincided with and/or concurred with that of each

      and every other defendant, named or unnamed.
                  7.    At all times relevant herein, a foreign

      company, believed to be named "Norwegian Cruise Lines",
      hereinafter "CRUISE", operated ocean going cruise ships in
      the waters offshore the island of Maui, State of Hawaii.

                  8.    No identified or unidentified defendant,

      named or unnamed, was a citizen or resident of the State of

      Ohio or incorporated under the law of Ohio, or had its

      principal place of business thereat.

                  9.    There is complete diversity of citizenship
      between plaintiffs and defendants pursuant to 28 U.S.C.

      Section 1332(a)(1).

                  10.   At all times relevant herein, CRUISE carried

      passengers for hire, i.e., patrons, aboard its ships.

                  11.   At all times relevant herein, one of the

      ships operated by CRUISE was known as the "Pride of

      America."




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                  12.   At all times relevant herein, plaintiffs

      were passenger patrons aboard the aforesaid Pride of
      America.

                  13.   At any time relevant herein, CRUISE

      marketed, promoted, advertised, sold, provided, designed,
      made available, operated, arranged for and/or supervised
      certain excursions for its passenger patrons, from the

      Pride of America to, at, or near the Wailea Beach on the

      island of Maui, State of Hawaii, which beach was near to

      the adjacent ocean.

                  14.   At any time relevant herein, CRUISE arranged
      for and allowed defendant CLUB, as its agent and/or

      independent contractor and/or otherwise, to provide an
      excursion known as "MAUI BEACH DAY" or "BEACH DAY OF MAUI"

      for its passenger patrons.

                  15.   At all time relevant herein, defendant CLUB,

      for compensation and/or economic benefit, by reason of

      business agreement or other arrangement, or at the request

      of CRUISE, agreed to provide passenger patrons of CRUISE,

      or other members of the public, including plaintiffs, day

      trips or excursions, said trips to begin at the Pride of

      America and proceeding to a beach on the island of Maui

      thereafter returning to the said vessel.

                  16.   At any time relevant herein, CRUISE and/or
      CLUB, or defendants and/or any of them, sold to plaintiffs

      a day trip or excursion such as was mentioned above, said




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      activity being known as the "MAUI BEACH DAY" excursion or
      "BEACH DAY MAUI."

                   17.   At any time relevant herein, plaintiffs
      purchased from CRUISE and/or CLUB, or any other defendant,
      a day trip or excursion as was mentioned above which trip
      or excursion occurred on January 18, 2016.

                   18.   On January 18, 2016, CLUB, sold, promoted,
      guided, staffed, operated, designed, supervised the
      aforesaid excursion activity in which it permitted

      plaintiffs to participate.

                   19.   Plaintiffs relied on defendant CLUB'S, or

      that of any other defendant's, expertise, reputation,
      background, experience, and/or recommendation, actual or

      implied, and/or relation with CRUISE, in participating and
      engaging in the aforesaid excursion and entry into the

      ocean mentioned below.

                  20.    On or about January 18, 2016, as a result of

      the foregoing, plaintiffs came under the supervision,

      influence, responsibility, control, guidance, and care of

      CLUB in the course of participating in the aforesaid

      excursion.

                  21.    But for the aforesaid experience, etc.,

      and/or CLUB'S relation with CRUISE, recommendation, and/or

      advice of defendants, or any of them, plaintiffs would not

      have engaged in the aforesaid excursion and entered the

      ocean fronting the beach mentioned below.




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                  22.   CLUB, on January 18, 2016, in the course of

      the foregoing, brought plaintiffs to a beach and its
      adjacent ocean, situate at Wailea, State of Hawaii.

                  23.   At all times relevant herein, defendants,

      and/or any of them, knew that ocean wave conditions whereat

      CLUB took plaintiffs, was located at a coastline, which,
      for many years, there existed unreasonably dangerous wave

      conditions, such being a cause of neck and/or paralyzing
      spinal injury to persons recreating in or otherwise using

      the ocean thereat.

                  24.   Appendix B - Excursion General Operation

      Requirements, p. 22, para. 13, to the "Norwegian Cruise

      Line Tour Operator Procedures and Policies", contained the
      following language: "Operator will provide sufficient

      signage advising Passengers of anything dangerous on a

      Tour."

                  25.   At all times relevant herein, CLUB,

      including defendants, and/or any of them, prior to January

      18, 2016, knowing of the foregoing aquatic hazard

      condition, negligently exposed plaintiffs thereto.

                  26.   At no time prior to January 18, 2016, did

      CLUB, or any other defendant, warn any plaintiff about

      unreasonably dangerous ocean waves existing at Wailea

      Beach, to which CLUB exposed plaintiffs, so that,

      plaintiffs, or either of them, were unaware of said aquatic

      hazard, such failure of defendants, or any of them, to warn

      constituting unreasonably dangerous negligent conduct.




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                  27.   On January 18, 2016, while in the ocean

      fronting the beach whereat CLUB took plaintiffs, ANTHONY
      FERRETTI was struck by a wave, which hurled him headfirst
      into the ocean floor, thereby rendering him quadriplegic.
                  28.   At no time on or before January 18, 2016,

      was any warning provided by anyone or entity to any

      plaintiffs that the injury suffered by ANTHONY FERRETTI

      could be caused by such aforesaid ocean wave condition.
                  29.   At no time before ANTHONY FERRETTI was

      injured as aforesaid, did any plaintiff know of the

      unreasonably dangerous ocean wave condition to which CLUB
      exposed them or that such could cause an ocean user to be

      injured and rendered a paraplegic.

                  30.   On January 18, 2016, no conduct engaged in
      by any plaintiff was a negligent cause of injury or damages

      suffered by plaintiffs and/or either of them.

                  31.   The conduct of CLUB and/or defendants,

      and/or any of them, mentioned above, was negligent and a

      cause of the harm and damages suffered by plaintiffs

      described herein.

                  32.   At all times relevant herein, neither CLUB

      or defendants, and/or any of them, were fit nor competent

      to provide a safe beach excursion to passengers.

                  33.   As a legal result of the foregoing, on

      January 18, 2016, and thereafter, ANTHONY FERRETTI suffered

      serious and permanent physical and mental distress,

      physical injury caused by the aforesaid dangerous aquatic




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      conditions, etc., including quadriplegia, as well as

      medical, rehabilitative, and related expense resulting from

      care rendered for the injuries suffered by him, pain,

      limitation of activity, reduction of enjoyment of life's
      activities and marital consortium, impairment of earning
      capacity and/or loss of wage, and other related damages, as

      shall be proven at time of trial.

                  34.   As a further legal result of the foregoing,
      ELAINE FERRETTI has sustained serious grief, as well as

      severe and permanent mental distress at seeing ANTHONY
      FERRETTI suffer permanent mental distress, diminution of
      the consortium, guidance, aloha, services, companionship,
      marital relation, which she had enjoyed with ANTHONY

      FERRETTI before January 18, 2016, and other related

      damages, as shall be proven at time of trial.
                  35.   The amount of damages suffered, and

      continuing to be suffered by each plaintiff, exclusive of
      interest and costs, exceeds $75,000.00, and is sufficient

      to vest this Court with jurisdiction, pursuant to 28 U.S.C.
      Section 1332(a).

                  WHEREFORE, upon a hearing hereof, plaintiffs pray
      that judgment be entered in their favor and against
      defendants, and/or any of them, jointly and severally, for
      such damages as to which they shall be entitled pursuant to

      proof adduced at trial, together with costs of suit,

      attorney's fees, prejudgment interest, post-judgment

      interest, and such other and further relief as to which




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      plaintiffs shall be entitled pursuant to Rule 54 of the
      Federal Rules of Civil Procedure.
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                  DATED:   Wailuku, Maul, Hawaii,




                                                KRUEGER, ESQ.
                                        'Attorney for Plaintiffs




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